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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-0351V
                                        UNPUBLISHED


    ELIZABETH LEVINE,                                        Chief Special Master Corcoran

                        Petitioner,                          Filed: May 21, 2020
    v.
                                                             Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                  Damages Decision Based on Proffer;
    HUMAN SERVICES,                                          Influenza (Flu) Vaccine; Shoulder
                                                             Injury Related to Vaccine
                        Respondent.                          Administration (SIRVA)


Jessica E. Choper, Britcher Leone, L.L.C., Glen Rock, NJ, for petitioner.

Colleen Clemons Hartley, U.S. Department of Justice, Washington, DC, for respondent.


                               DECISION AWARDING DAMAGES1

       On March 8, 2019, Elizabeth Levine filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a right shoulder injury related to
vaccine administration (“SIRVA”), including a right rotator cuff repair and subacromial
impingement, as a result of an influenza (“flu”) vaccine received on October 31, 2016.
Petition at 1. The case was assigned to the Special Processing Unit of the Office of
Special Masters.

     On May 21, 2020, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for SIRVA. On May 20, 2020, Respondent filed a proffer on award of



1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). This means the decision will be available to anyone with access to
the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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compensation (“Proffer”) indicating Petitioner should be awarded $67,500.00.3 Proffer at
1-2. In the Proffer, Respondent represented that Petitioner agrees with the proffered
award. Id. Based on the record as a whole, I find that Petitioner is entitled to an award
as stated in the Proffer.

      Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $67,500.00 in pain and suffering damages in the form of a check
payable to Petitioner. This amount represents compensation for all damages that
would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.4

IT IS SO ORDERED.


                                          s/Brian H. Corcoran
                                          Brian H. Corcoran
                                          Chief Special Master




3
 Respondent states that the proffer does not include compensation for Petitioner’s claimed right rotator
cuff injury. Proffer at 1 n.1.
4
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                      2
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                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                            OFFICE OF SPECIAL MASTERS

                                                     )
    ELIZABETH LEVINE,                                )
                                                     )
                  Petitioner,                        )
                                                     )   No. 19-351V
    v.                                               )   Chief Special Master Corcoran
                                                     )   ECF
    SECRETARY OF HEALTH AND HUMAN                    )
    SERVICES,                                        )
                                                     )
                  Respondent.                        )
                                                     )

                RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

         On March 8, 2019, Elizabeth Levine (“petitioner”) filed a petition for vaccine injury

compensation alleging that she suffered Shoulder Injury Related to Vaccination Administration

(“SIRVA”) in her right shoulder, including a “right rotator cuff tear” and “subacromial

impingement.” On May 12, 2020, respondent conceded that entitlement to compensation was

appropriate for SIRVA, including petitioner’s claim for impingement, under the terms of the

Vaccine Act. 1

         I.       Items of Compensation

         Based upon the evidence of record, respondent proffers that petitioner should be awarded

$67,500.00, in pain and suffering damages, which represents all elements of compensation to

which petitioner would be entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

         II.      Form of the Award

         Respondent recommends that the compensation provided to petitioner be made through a



1
  In the same pleading, respondent stated that petitioner is not entitled to compensation as
related to her claimed right rotator cuff injury. Accordingly, this proffer of damages does not
include compensation for petitioner’s claimed right rotator cuff injury.
                                                 1
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lump sum payment of $67,500.00 in the form of a check payable to petitioner. 2 Petitioner

agrees.

          Petitioner is a competent adult. Evidence of guardianship is not required in this case.

                                                       Respectfully submitted,

                                                       JOSEPH H. HUNT
                                                       Assistant Attorney General

                                                       C. SALVATORE D’ALESSIO
                                                       Acting Director
                                                       Torts Branch, Civil Division

                                                       CATHARINE E. REEVES
                                                       Deputy Director
                                                       Torts Branch, Civil Division

                                                       GABRIELLE M. FIELDING
                                                       Assistant Director
                                                       Torts Branch, Civil Division

                                                       /s/ Colleen C. Hartley
                                                       COLLEEN C. HARTLEY
                                                       Trial Attorney
                                                       Torts Branch, Civil Division
                                                       U.S. Department of Justice
                                                       P.O. Box 146
                                                       Benjamin Franklin Station
                                                       Washington, D.C. 20044-0146
                                                       Phone: (202) 616-3644
                                                       Fax: (202) 353-2988
DATED: May 20, 2020




2
 Should petitioner die prior to the entry of judgment, respondent reserves the right to move the
Court for appropriate relief. In particular, respondent would oppose any award for future
medical expenses, future pain and suffering, and future lost wages.


                                                   2
